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                e.      Your term of service with your employer (your employer on February 22,

                        2019);

                f.      The names and addresses of all of your employers within the last five years,

                       and the dates of service with each such employer;

                g.     The names and addresses of all of your employers in the law enforcement

                       field throughout your career, and the dates of service with each such

                       employer;

                h.     Your highest educational level attained, and the names, cities, states and

                       dates of graduation of all educational institutions you attended in pursuit of

                       a degree after age 15; and

                i.     Whether you served in the military, and if so, your dates of services, rank

                       at discharge, whether discharge was honorable or dishonorable, and, if

                       dishonorable, why.

          ANSWER:

          a.     None;
          b.     June 19, 1984;
          c.     The City of Van Buren Police Department, 1409 Main Street, Van Buren,
                 Missouri 63965;
          d.     Van Buren Officer 11;
          e.     8 or 9 months in2016, and a few shifts in 2019 prior to the time ofthe incident;
          f.     The City of Van Buren Police Department, 1409 Main Street, Van Buren,
                 Missouri 63965 (2016- 2017 and 2019- to present); Carter County Sheriff's
                 Department, 101 Hwy W., Van Buren, Missouri 63965 (2016- 2017); Ripley
                 County Sheriff's Office, 101 Water St, Doniphan, MO 63935 (2017 - 2018);
                 City of Ellington Police Department, 100 Tubbs Ave, Ellington, MO 63638
                 (2019- Present); West Carter County Ambulance, 1301 Main St, Van Buren,
                 MO 63965 (2012- present); and Ripley County Ambulance, 1003 Walnut St,
                ·Doniphan, MO 63935, (2014 - 2015); and Butler County Ambulance (2018
                 2019);
           g.    The City of Van Burn Police Department, 1409 Main Street, Van Buren, MO
                 63965 (2016- 2017 and 2019 -present); Carter County Sheriff's Department,
                 101 Hwy W., Van Buren, Missouri 63965 (2016 - 2017); Ripley County



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                 Sheriffs Office, 101 Water St, Doniphan, MO 63935 (2017- 2018); City of
                 Ellington Police Department, 100 Tubbs Ave, Ellington, MO 63638 (2019 -
                 Present);
          h.     2 years of College; Three Rivers Community College, Poplar Bluff, MO 2012
                 (EMT Program), 2016 (Police Academy); Dexter Senior High School, Dexter,
                 M02002;
          i.     N/A.

          3.     Please state whether anyone helped you answer these Interrogatories. If yes, please

  state the name(s) and address(es) of all such persons.

          ANSWER:       Counsel for Answering Defendant
                        Fisher Patterson Sayler & Smith, LLP
                        1010 Market Street, Suite 1650
                        St. Louis, Missouri 63101

          4.     If you are no longer employed by the same employer that you were employed by

  on February 22, 2019, please state the following:

                 a.      The name and address of your current employer;

                 b.     The date you began your employment with your current employer;

                 c.     The name and address of your current employer;

                 d.      The date you began your employment with your current employer; and

                 e.      Your term of service with your current employer.

          ANSWER:N/A

           5.    If you are no longer employed by the same employer that you were employed by

  on February 22, 2019, please state the following:

                 a.      The date the employment ceased to exist;

                 b.      Whether you were terminated from your employment or you resigned;

                 c.      If you were terminated from your employment, please state the reason or

                         reasons your employer gave for terminating your employment;

                 d.      If you resigned from your employment, your reasons for resigning; and



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                  e.     Identify any documents relating to your resignation from employment or

                         your termination from employment.

           ANSWER:N/A

           6.     Please state whether you or anyone acting on your behalf has obtained any

  statement from either Plaintiff regarding the facts which are the subject ofthis suit. Please include

  statements which were oral, written, recorded, video, and/or transcribed. For each such statement

  please state:

                  a.     The date, time and location where the statement was taken;

                  b.     The names of all individuals present at the time it was taken;

                  c.     Whether the statement was oral, written, recorded, video, and/or

                         transcribed;

                  d.     The name and address of the person on whose behalf the statement was

                         taken or made;

                  e.     The name and address of the person(s) having custody of the statement; and

                  f.     If any such statement was oral, please state the contents of the statement.

          ANSWER: None other than those contained within the police reports associated with
          this incident.

           7.     State whether or not you have made any statement(s) pertaining to the conduct

  described in the lawsuit (other than to an attorney to whom you have gone for legal counsel) and,

  if so, state:

                  a.     When such statements were made;

                  b.     Whether the statements were recorded, typed, written, signed, or unsigned;

                  c.     Where such statements were taken;

                  d.     Who was present at the time said statements were taken;



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                 e.      To whom the statement was made; and

                 f.      Ifthere exists a copy of the statement in any form, the name and address of

                         the custodian of the statement.

           ANSWER:

           a.    February 22, 2019 and February 25, 2019;
           b.    On February 22, 2019, I gave an oral statement to the responding Sheriffs
                 deputy who then typed it in his own words in his report and signed the report.
                 On February 22, 2019, I made a written statement as part of the investigation
                 into the incident and signed. On February 25, 2019, I gave an oral statement
                 to Chief Bradwell which was then typed up (not verbatim) in a report and
                 signed by Chief Bradwell;
          c.     Dale and Independence Street, Van Buren, Missouri 63965, Carter County
                 Sheriffs Department, and the City of Van Buren Police Department;
          d.     Chief Deputy J. Eudaley and Chief Bradwell;
          e.     Chief Deputy J. Eudaley and ChiefBradwell;
          f.     Carter County Sheriffs Department, 101 Hwy W., Van Buren, Missouri 63965
                 and The City of Van Buren Police Department, 1409 Main Street, Van Buren,
                 Missouri 63965.

           8.    Please state the names and addresses of each person known by you or your

  representatives to be witnesses to or to have personal knowledge of the facts which are the subject

  of this suit. Please exclude privileged information:

          ANSWER: Charles Roper and Donna Roper, 206 Ripley 160 E-1, Doniphan, MO
          63935, Jeffery Richard Walberg, P.O. Box 176, Van Buren, Missouri, and Robin and
          Jennifer Mesey, 1512 Dale Street, Van Buren, Missouri 63965.

           9.    Please state whether you or anyone acting on your behalf has obtained any

  statement from a person identified in these Interrogatories as having personal knowledge of the

  facts which are the subject of this suit. Please include statements which were oral, written,

  recorded, video, and/or transcribed. For each such statement please state:

                 a.      The date, time and location where the statement was taken;

                 b.      The names of all individuals present at the time it was taken;




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                 c.      Whether the statement was oral, written, recorded, video, and/or

                         transcribed;

                 d.      The name and address of the person on whose behalf the statement was

                         taken or made;

                 e.      The name and address of the person(s) having custody of the statement; and

                 f.      If any such statement was oral, please state the contents of the statement.

          ANSWER: Objection, Interrogatory 9 seeks information protected by the attorney-
          client privilege, insurer-insured privilege, and/or the work product doctrine. Without
          waiving said objection, and subject to the same:

          a.     Donna Roper, on or about 10/30/2019, at approximately 3:30 p.m.;
          b.     Donna Roper, and Answering Defendant's Counsel;
          c.     Oral;
          d.     Charles Roper, Route 8 Box 8834, Doniphan, Missouri 63935;
          e.     None, it was an oral conversation only;
          f.     Objection: Work Product.

           10.   Please state whether you are aware of or have in your possession any photographs

  or video recordings of the events which are the subject of this suit. For each such photograph or

  video recording, please state

                 a.      The date and time the photograph or video was taken;
                 b.      The name and address of the person taking the photograph or video; and
                 c.      The name and address of the person currently having custody of the
                         photograph or video.

          ANSWER: See photographs contained within the police reports related to this
          incident. Answering Defendant is not aware of any additional photos.

           11.   Please state whether you have ever been a Defendant in another civil lawsuit related

  to your actions as a law enforcement officer. If yes, please state for each such suit or action:

                 a.      The nature of the claim or lawsuit including a brief description of the

                         event(s) over which the suit was filed;




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                  b.      The name, city and state of the court or other body in which the claim or

                          lawsuit was brought;

                  c.      The name of the parties and the cause number of the suit; and

                  d.      How the suit was resolved.

          ANSWER: No.

           12.    State whether or not any insurance company (including a company with excess or

  umbrella coverage, or a self-insurance pool) has issued a policy which may provide coverage for

  Plaintiffs' claims against you in this case. If so, state the following:

                  a.      Name of the insurance company;

                  b.      Name ofthe insured;

                  c.      Type of insurance;

                  d.      Effective date of policy;

                  e.      Policy number; and

                  f.      Limits of the policy applicable to the occurrence mentioned in these

                          pleadings.

          ANSWER: Answering Defendant objects to Interrogatory 12 to the extent that any
          policy would have coverage as no coverage determinations have been made by
          insurers. Without waiving said objection and subject to the same, see attached Bates
          numbered documents 000001-000134 for policies which could potentially provide
          coverage if there were a determination of liability.

           13.    Please provide the name and address of each person whom you or your attorneys

  expect or intend to call as an expert witness at the trial of this case. Please state the general nature

  of the subject matter about which each such expert will testify and the name of the person, firm or

  corporation against whom that expert's testimony will be directed. Please further state:

                  a.      The subject matter on which the expert is expected to testify;




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                  b.      His/Her conclusions and opinions and the basis therefore;

                  c.      His/Her qualifications;

                  d.      Whether or not the expert has prepared a written report and, if so, the name

                          and address ofthe person who has possession of it;

                  e.      Whether or not there are any rules, regulations, standards, statutes, or

                          guidelines relied upon by the expert as the basis for his opinions and

                          conclusions, and if so, the identity of each;

                  f.      The person who employed the expert; and

                  g.      The amount paid to said expert for his/her opinion.

          ANSWER: None at this time.

           14.    State whether you expect to call any person as a non-retained expert witness at the

  trial of this cause, and if so, state for each such non-retained expert:

                  a.     Name, address, employer, and occupation;

                  b.      Field of expertise;

                  c.      The subject matter upon which the non-retained expert is expected to testifY;

                  d.      Whether the testimony of the non-retained expert will be presented live at

                          trial or by deposition; and

                  e.      The non-retained expert's hourly deposition fee.

          ANSWER: None at this time.

           15.    Please state whether you are aware of any government investigation(s) of the

  incident which is subject of this suit, including any internal investigation which may have been

  conducted by your law enforcement employer(s). If so, please state the name and address of the




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  government entity or entities conducting such investigation(s), and please state the name and work

  address of the individual(s) in charge of those investigation(s).

          ANSWER:

          a.     Carter County Sheriff's Office Incident Investigation, 101 Hwy W., Van
                 Buren, Missouri 63965, Deputy Justin Eudaley;
          b.     City Van Buren Police Department Internal Investigation, 1409 Main Street,
                 Van Buren, Missouri 63965, Chief Alonzo Bradwell;
          c.     Carter County Prosecuting Attorney's Office - Criminal Investigation, 502
                 Main St #A, Van Buren, MO 63965, Hannah Pender.

           16.   Please state whether in the course of all the actions you took in the course of your

  work on the date of the incident you were:

                 a.      Serving as an employee ofthe City of Van Buren Police Department;

                 b.      Engaging in a government function; and

                 c.      Acting within the scope and course of that employment.

           ANSWER: Answering defendant objects. to Interrogatory 16 as it inaccurately
           states that defendant was acting "in the course" of his work at the time of the incident
         . in question. Without waiving said objection and subject to the same,

          a.     None, I was not on duty;
          b.     None, I was not on duty;
          c.     None, I was not on duty.

           17.   Did you have any training as a Van Buren police officer, relating or pertaining to

  capturing loose, at large or stray dogs prior to the date of the occurrence subject to this suit? If so

  please describe the nature and duration of such training.

          ANSWER: None.

           18.   In your answer to paragraph 17 of Plaintiffs' Complaint, you stated, "ADMIT

  Plaintiffs dogs were attacking Answering Defendant's father-in-law's dog, Plaintiffs dogs did not

  respond to either yelling or a warning shot being fired, and that one of Plaintiffs dogs turned




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  aggressively toward Answering Defendant's wife who was trying to break up the dog fight prior

  to his shooting the dog."

                  a.     Please state the full name of your father-in-law, his date of birth, his current

                         address and his current mobile telephone number and his current address;

                         and

                  b.     Please state the full name of your wife, her dateofbirth, her current address

                         and her current mobile telephone number and her current address.

           ANSWER:

           a.     Jeffery Richard Walberg, 6/09/1955, P.O. Box 176, Van Buren, Missouri, 573-
                  870-0668;
           b.     Donna Roper 12/9/1980, 206 Ripley 160 E-1, Doniphan, MO 63935, 573-660-
                  3428.

            19.   What is your monthly net wage after deductions or withholdings made for income

  tax, social security, medical insurance, pensions, and other like deductions or withholdings?

           ANSWER: Answering Defendant objects to Interrogatory 19 in that it seeks personal
           financial information when there is no basis for doing so. Without waiving said
           objection and subject to the same, $2,461.33.

           20.    Please state whether or not the Van Buren Police Department had policies or

  procedures in place for officers to followwhile being considered off-duty? If your answer is in the

  affirmative, please describe those policies and/or procedures.

           ANSWER: Therewere no formal policy or procedures in place at the time of the
           incident.




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                                             Respectfully submitted,

                                             FISHER PATTERSON SAYLER& SMITH, L.L.P.

                                                    Is/ Portia C. Kayser
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                                             1010 Market Street, Suite 1650
                                             St. Louis, MO 63101
                                             Telephone and Fax: (314) 561-3675
                                             pkayser@fisherpatterson.com

                                            Attorneys for Defendant Charles Roper



                                     Certificate of Service

        The undersigned hereby certifies that a true and correct copy of the foregoing document
  was emailed and/or mailed this 2nd day of December, 2019 to the following:

  (via Regular U.S. Mail)

  James W. Schottel, Jr.
  Schottel & Associates, PC
  906 Olive St., PH
  St. Louis, MO 63101
  jwsj@schotteljustice.com

  Attorneys for Plaintiff

  (via Email) ·

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  Attorneys for Defendants City of Van Buren, Missouri and
  Alonzo Bradwell

                                                    Is/ Portia C. Kayser




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                                               )
                                               ) ss.
                                               )

             C()l\tfFS NC>W Charles Roper, the Defendant named above being di.l!y sworn upon
  hi:::. oatl1 deposes and states that the facts contained in the foregoing are true and correct
 according to his best pe!'Si>nal knowledge, informatio:z:belief.        ··

                                                              --~~~--~~~~~~~~~~




        Subscrihed and s\vom to before me, the undersigned Notary Public,        thi~~jJ"~   day

                                 ~   2019.




My Commission Expires:

    CORI DESARAE RISINGER
    NOTARY PUBLIC- NOTARY SEAL
          STATE OF MISSOLIRI
                                                       . ·'
          COUNTY OF CARTER
         COMMISSION #17933105
   My Commission Expires: September 11, 2021
  ..-·~--~~~
